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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )     Case No. 2:12CR00001-002
                                               )
v.                                             )     OPINION AND ORDER
                                               )
KAYLA RACHELLE HONEYCUTT,                      )     By: James P. Jones
                                               )     United States District Judge
                                               )
                 Defendant.                    )


       Kayla Rachelle Honeycutt, Pro Se.

       The defendant has filed a pro se motion that I construe as a motion under

Federal Rule of Criminal Procedure 36 to correct an error in the Judgment entered

in her case on August 22, 2012, in which she was sentenced to a term of

imprisonment. I will deny the motion for the reasons that follow.

       The Judgment provided that her federal sentence was to run concurrently

with a prior sentence imposed July 10, 2012, in the Wise County, Virginia, Circuit

Court, in case number CR10F00651-00. As evidenced by an exhibit introduced at

the sentencing hearing, the defendant had been sentenced in two separate cases in

that court at that time, including case number CR11F00351-00. The sentences in

both cases were the same – five years imprisonment, with four years suspended,

and were to run concurrently with each other. (Def.’s Ex. 1, Aug. 22, 2012.) The
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sentence imposed in case number CR10F00651-00 was imposed following a guilty

plea to illegal distribution of drugs, while the sentence in case number

CR11F00351-00 was imposed for unauthorized use of a motor vehicle.

      As shown by the record in this case, the court’s decision to run concurrently

only the sentence in case number CR10F00651-00 was intentional, since it

involved conduct that was included within the drug conspiracy for which the

federal sentence was imposed.      The other sentence was for conduct that was

unrelated to the federal offense. The court has the discretion to order a federal

sentence to run concurrently or consecutively with respect to a prior undischarged

sentence. 18 U.S.C.A. § 3584 (West 2000); see Setser v. United States, 132 S. Ct.

1463, 1467 (2012). Accordingly, the court’s decision in this case was not a clerical

error that can be now addressed.

      In any event, while the state sentence was imposed before the federal

sentence, the defendant was apparently in primary federal custody, since the state

sentences have yet to be served. Thus it would appear it is up to the state court to

decide whether its sentence, yet to be served, can be served concurrently with the

present federal sentence.

      Accordingly, it is ORDERED that the motion (ECF No. 179) is DENIED.

                                              ENTER: November 6, 2012

                                              /s/ James P. Jones
                                              United States District Judge
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